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                                           Claim No: CL-202
                                                         023
                                                         02 3-000054
                                                     CL-2023-000054
IN THE HIGH COURT OF JUSTICE
BUSINESS AND PROPERTY COURTS OF ENGLAND D AND WALES
KING’S BENCH DIVISION
COMMERCIAL COURT
Before the Honourable Mr Justice Bright
24 February 2023

BETWEEN:
                                           TD
                        (1) TRAFIGURA PTE LTD
                    (2) TRAFIGURA INDIA PVTT LTD
                                                       Claimants/Applicants
                             (1) PRATEEK GUPTA
                                             A
                     (2) UIL (SINGAPORE) PTE. LTD.
                          (3) UIL MALAYSIA LTD.
                                              D.
                         (4) TMT METALS AG, ZUG
                                              UG
                        (5) TMT METALS (UK) LTD
                       (6) SPRING METAL LIMITED
                                              TED
                         (7) MINE CRAFT LIMITED
                                              ED
                 (8) NEW ALLOYS TRADING PTE.  TE. LTD.
                                                    Defendants/Respondents


                               ORDER



                           PENAL NOTICE

IF YOU, PRATEEK GUPTA, UIL (SINGAPORE) PTE. LTD., UIL MALAYSIA LTD.,
TMT METALS AG, ZUG, TMT METALS (UK) LTD, SPRING METAL LIMITED,
MINE CRAFT LIMITED OR NEW ALLOYS TRADING PTE. LTD. DISOBEY THIS
ORDER YOU MAY BE HELD IN CONTEMPT OF COURT AND MAY BE
IMPRISONED, FINED OR HAVE YOUR ASSETS SEIZED.

AND IF YOU, ANY OF THE DIRECTORS OR OFFICERS OF UIL (SINGAPORE)
PTE. LTD., UIL MALAYSIA LTD., TMT METALS AG, ZUG, TMT METALS (UK)
LTD, SPRING METAL LIMITED, MINE CRAFT LIMITED OR NEW ALLOYS
TRADING PTE. LTD. DISOBEY THIS ORDER YOU MAY BE HELD IN CONTEMPT
OF COURT AND MAY BE IMPRISONED, FINED OR HAVE YOUR ASSETS
SEIZED.

ANY OTHER PERSON WHO KNOWS OF THIS ORDER AND DOES ANYTHING
WHICH HELPS OR PERMITS THE RESPONDENT TO BREACH THE TERMS OF
THIS ORDER MAY ALSO BE HELD TO BE IN CONTEMPT OF COURT AND MAY
BE IMPRISONED, FINED OR HAVE THEIR ASSETS SEIZED.




                                   1
This order


1.   This is a Freezing Injunction made against the Respondents on 24 February 2023 by the
     Honourable Mr Justice Bright on the application of Trafigura Pte Ltd and Trafigura India
     PVT Ltd (the “Applicants”). The Judge read the Affidavits listed in Schedule A and
     accepted the undertakings set out in Schedule B at the end of this Order.


2.   Unless otherwise stated:


     2.1. references in this order to “the Respondents” are references to each and all of the
             Respondents; and


     2.2. this order is effective against any Respondent on whom it is served or who is given
             notice of it.


Freezing and Proprietary Injunction


3.   Until further order of the Court, the Respondents must not –


     3.1. remove from England and Wales any of their assets which are in England and
             Wales to the value of US$625,000,000; or


     3.2. in any way dispose of, deal with or diminish the value of any of their assets whether
             they are in or outside England and Wales up to the same value.


4.   Paragraph 3 applies to all the Respondents’ assets whether or not they are in their own
     name, whether they are solely or jointly owned. For the purpose of this order, the
     Respondents’ assets include any asset which they have the power, directly or indirectly,
     to dispose of or deal with as if it were their own. The Respondents are to be regarded as
     having such power if a third party holds or controls the asset in accordance with their
     direct or indirect instructions.


5.   This prohibition includes the following assets in particular:



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   5.1. Any interest that any of the Respondents have in any of the assets set out in
        Schedule C hereto.


   5.2. In relation to the Third Respondent, the following sums which it received from the
        Applicants, and any fruits and traceable proceeds thereof (together, “R3
        Proprietary Funds”):


  Date of       Amount of            Payee Bank                Payee Bank account
 Payment         payment                                      number and sort code

11-Aug-22     $1,953,854.92    RHB BANK BERHAD             61412900027488
02-Sep-22     $4,535,856.00    RHB BANK BERHAD             61412900027488
23-Aug-22     $4,369,949.33    RHB BANK BERHAD             61412900027488
25-Aug-22     $3,708,402.36    RHB BANK BERHAD             61412900027488
14-Sep-22     $2,991,797.25    RHB BANK BERHAD             61412900027488

   5.3. In relation to the Fourth Respondent, the following sums which it received from
        the Applicants, and any fruits and traceable proceeds thereof (together, “R4
        Proprietary Funds”):


    Date of         Amount of           Payee Bank         Payee Bank account IBAN
   Payment           payment

26-May-22        $8,433,067.26      Barclays Bank PLC     GB53BARC20000084575166
07-Jun-22        $6,023,338.00      Barclays Bank PLC     GB53BARC20000084575166
15-Jun-22        $12,439,813.77     Barclays Bank PLC     GB53BARC20000084575166
08-Feb-22        $15,815,432.33     Barclays Bank PLC     GB53BARC20000084575166
10-Feb-22        $10,770,189.05     Barclays Bank PLC     GB53BARC20000084575166
13-Apr-22        $16,000,901.28     Barclays Bank PLC     GB53BARC20000084575166
22-Jun-22        $7,169,734.71      Barclays Bank PLC     GB53BARC20000084575166
28-Jun-22        $6,420,448.44      Barclays Bank PLC     GB53BARC20000084575166
01-Jul-22        $4,573,640.88      Barclays Bank PLC     GB53BARC20000084575166
05-Jul-22        $8,133,480.24      Barclays Bank PLC     GB53BARC20000084575166

   5.4. In relation to the Fifth Respondent, the following sums which it received from the
        Applicants, and any fruits and traceable proceeds thereof (together, “R5
        Proprietary Funds”):


   Date of         Amount of            Payee Bank              Payee Bank IBAN
  Payment           payment



                                          3
17-May-22       $5,821,708.40       Barclays Bank PLC      GB76BARC20000047108211
13-Jun-22       $8,617,961.07       Barclays Bank PLC      GB76BARC20000047108211
14-Jun-22       $4,941,270.54       Barclays Bank PLC      GB76BARC20000047108211
23-Jun-22       $5,056,764.39       Barclays Bank PLC      GB76BARC20000047108211
05-Jul-22       $4,098,508.48       Barclays Bank PLC      GB76BARC20000047108211

   5.5. In relation to the Sixth Respondent, the following sums which it received from the
        Applicants, and any fruits and traceable proceeds thereof (together, “R6
        Proprietary Funds”):


  Date of      Amount of                   Payee Bank                    Payee Bank
 Payment        payment                                                account number
                                                                        and sort code

03-May-22    $5,115,686.58      MALAYAN BANKING BERHAD                715120017120
26-May-22    $5,120,935.25      MALAYAN BANKING BERHAD                715120017120
08-Jun-22    $4,396,870.91      MALAYAN BANKING BERHAD                715120017120
09-Jun-22    $7,092,677.27      MALAYAN BANKING BERHAD                715120017120
16-Jun-22    $5,057,366.67      MALAYAN BANKING BERHAD                715120017120
13-Jan-22    $7,727,254.41      MALAYAN BANKING BERHAD                715120017120
18-Feb-22    $8,334,166.46      MALAYAN BANKING BERHAD                715120017120
03-Mar-22    $5,561,281.85      MALAYAN BANKING BERHAD                715120017120
27-Jun-22    $10,949,869.53     MALAYAN BANKING BERHAD                715120017120

   5.6. In relation to the Seventh Respondent, the following sums which it received from
        the Applicants, and any fruits and traceable proceeds thereof (together, “R7
        Proprietary Funds”):


  Date of         Amount of                   Payee Bank                 Payee Bank
 Payment           payment                                             account number
                                                                        and sort code

26-Apr-22     $15,040,520.76       United Overseas Bank Limited       451-911-313-3
18-May-22     $4,474,069.35        United Overseas Bank Limited       451-911-313-3
01-Jun-22     $8,203,870.54        United Overseas Bank Limited       451-911-313-3
10-Jun-22     $5,327,842.25        United Overseas Bank Limited       451-911-313-3
14-Jun-22     $9,810,918.72        United Overseas Bank Limited       451-911-313-3
24-Jun-22     $5,246,740.71        United Overseas Bank Limited       451-911-313-3
06-Jul-22     $4,626,415.68        United Overseas Bank Limited       451-911-313-3
29-Jul-22     $9,436,450.40        United Overseas Bank Limited       451-911-313-3




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       5.7. In relation to the Eighth Respondent, the following sums which it received from
             the Applicants, and any fruits and traceable proceeds thereof (together, “R8
             Proprietary Funds”):


      Date of       Amount of                 Payee Bank                Payee Bank account
     Payment         payment                                               and sort code

 02-Feb-22       $7,025,648.43       The Hongkong and Shanghai         260487863178
                                     Banking Corporation Limited
 25-Feb-22       $4,883,330.60       The Hongkong and Shanghai         260487863178
                                     Banking Corporation Limited
 02-Mar-22       $6,564,324.75       The Hongkong and Shanghai         260487863178
                                     Banking Corporation Limited
 03-Mar-22       $8,230,645.20       The Hongkong and Shanghai         260487863178
                                     Banking Corporation Limited
 04-May-22       $6,308,143.85       The Hongkong and Shanghai         260487863178
                                     Banking Corporation Limited
 09-May-22       $10,921,729.82      The Hongkong and Shanghai         260487863178
                                     Banking Corporation Limited
 27-May-22       $10,004,314.54      The Hongkong and Shanghai         260487863178
                                     Banking Corporation Limited
 01-Jun-22       $6,475,550.92       The Hongkong and Shanghai         260487863178
                                     Banking Corporation Limited
 10-Jun-22       $4,557,968.28       The Hongkong and Shanghai         260487863178
                                     Banking Corporation Limited
 16-Jun-22       $10,583,264.16      The Hongkong and Shanghai         260487863178
                                     Banking Corporation Limited
 17-Jun-22       $11,566,593.81      The Hongkong and Shanghai         260487863178
                                     Banking Corporation Limited
 20-Jan-22       $11,531,588.69      The Hongkong and Shanghai         260487863178
                                     Banking Corporation Limited
 24-Jun-22       $7,317,035.19       The Hongkong and Shanghai         260487863178
                                     Banking Corporation Limited
 01-Jul-22       $4,481,189.46       The Hongkong and Shanghai         260487863178
                                     Banking Corporation Limited
 29-Jul-22       $2,185,858.50       The Hongkong and Shanghai         260487863178
                                     Banking Corporation Limited

6.     The fruits and traceable proceeds of the R3, R4, R5, R6, R7 and R8 Proprietary Funds
       shall include (without limitation) any asset purchased in whole or in part therewith; and
       any interest earned or other income received or derived therefrom. The R3, R4, R5, R6,
       R7 and R8 Proprietary Funds are collectively referred to herein as the “Proprietary
       Funds”.




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7.   If the combined total value free of charges or other securities (“unencumbered value”)
     of (a) the Respondents’ assets in England and Wales apart from the Proprietary Funds
     (“the Unaffected Assets”); and (b) their interest in the Proprietary Funds exceeds
     US$625,000,000, the Respondents may remove any of the Unaffected Assets from
     England and Wales or may dispose of or deal with those assets so long as the total
     unencumbered value of the Respondents’ assets still in England and Wales remains above
     US$625,000,000.


8.   If the total unencumbered value of the Respondents’ assets in England and Wales does
     not exceed US$625,000,000, the Respondents must not remove any of those assets from
     England and Wales and must not dispose of or deal with any of them. If the Respondent
     has other assets outside England and Wales, they may dispose of or deal with those assets
     other than any of the Proprietary Funds outside England and Wales so long as the total
     unencumbered value of all their assets whether in or outside England and Wales remains
     above US$625,000,000.


Provision of Information


9.   The Defendants shall continue to be subject to the obligations concerning the provision
     of information and documentation contained in paragraphs 11-17 of Foxton J’s order of
     8 February 2023, as amended by Foxton J’s further order of 13 February 2023, subject
     to the following further amendments:


     9.1. The table appearing beneath paragraph 7.6 of Foxton J’s order of 8 February 2023
          shall be amended by removing one of the duplicative references to a payment of
          $15,040,520.76 on 26 April 2022.


     9.2. The deadlines in paragraphs 14 and 15 of Foxton J’s order of 8 February 2023 shall
          be amended to read “4pm on 1 March 2023”.


     9.3. Paragraph 15 of Foxton J’s order of 8 February 2023 shall be amended to read “…
          for the bank accounts held by them as identified in paragraphs 7.2-7.7 above”.




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Exceptions to this Order


10.     Save that no use for any purpose may be made of any Proprietary Funds, this order does
        not prohibit the First Respondent from spending £20,000 a month towards his ordinary
        living expenses, and all of the Respondents from spending a reasonable sum on legal
        advice and representation. But before spending any money the Respondents must tell the
        Applicants’ legal representatives where the money is to come from.


11.     Save that no use for any purpose may be made of any Proprietary Funds, this order does
        not prohibit the Respondents from dealing with or disposing of any of their assets in the
        ordinary and proper course of business, but before doing so the Respondent must tell the
        Applicants’ legal representatives.


12.     The Respondents may agree with the Applicants’ legal representatives that the above
        spending limits should be increased or that this order should be varied in any other
        respect, but any agreement must be in writing.


13.     The order will cease to have effect if the Respondents—


        13.1. provide security by paying the sum of US$625,000,000 into Court, to be held to
              the order of the Court; or


        13.2. makes provision for security in that sum by another method agreed with the
              Applicants’ legal representatives.


Costs


14.     Costs reserved.


Variation or Discharge of this Order


15.     The Respondents shall have liberty to apply to vary and/or discharge this order, without
        showing any material change of circumstances, provided that any such application is
        issued and served by 4pm on 6 April 2023.


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16.   Anyone other than the Respondents who has been served with or notified of this order
      may apply to the Court at any time to vary or discharge this order (or so much of it as
      affects that person), but they must first inform the Applicants’ solicitors. If any evidence
      is to be relied upon in support of the application, the substance of it must be
      communicated in writing to the Applicants’ solicitors in advance.


Interpretation of this Order


17.   A Respondent who is an individual who is ordered not to do something must not do it
      herself or himself or in any other way. She or he must not do it through others acting on
      her or his behalf or on her or his instructions or with her or his encouragement.


18.   A Respondent which is not an individual which is ordered not to do something must not
      do it itself or by its directors, officers, partners, employees or agents or in any other way.


Parties other than the Applicant and the Respondents


19.   Effect of this order
      It is a contempt of court for any person notified of this order knowingly to assist in or
      permit a breach of this order. Any person doing so may be imprisoned, fined or have their
      assets seized.


20.   Set off by banks
      This injunction does not prevent any bank from exercising any right of set of it may have
      in respect of any facility which it gave to any Respondent before it was notified of this
      order.


21.   Withdrawals by the Respondent
      No bank need enquire as to the application or proposed application of any money
      withdrawn by any Respondent if the withdrawal appears to be permitted by this order.


22.   Persons outside England and Wales



                                                 8
      22.1. Except as provided in paragraph 22.2 below, the terms of this order do not affect
            or concern anyone outside the jurisdiction of this Court.


      22.2. The terms of this order will affect the following persons in a country or state outside
            the jurisdiction of this Court:

            (1)   each of the Respondents or its officer or its, her or his agent appointed by
                  power of attorney;


            (2)   any person who-


                  (i) is subject to the jurisdiction of this Court;


                  (ii) has been given written notice of this order at his residence or place of
                       business within the jurisdiction of this Court; and


                  (iii) is able to prevent acts or omissions outside the jurisdiction of this Court
                       which constitute or assist in a breach of the terms of this order; and


            (3)   any other person, only to the extent that this order is declared enforceable by
                  or is enforced by a Court in that country or state.


23.   Assets located outside England and Wales
      Nothing in this order shall, in respect of assets located outside England and Wales,
      prevent any third party from complying with:


      23.1. what it reasonably believes to be its obligations, contractual or otherwise, under the
            laws and obligations of the country or state in which those assets are situated or
            under the proper law of any contract between itself and any of the Respondents;
            and


      23.2. any orders of the Courts of that country or state, provided that reasonable notice of
            any application for such an order is given to the Applicants’ solicitors.




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Service


24.   Without prejudice to the First to Third and Fifth to Eighth Respondents’ right to challenge
      the jurisdiction of the English Court, the Claim Form shall be deemed to have been served
      on the First to Third and Fifth to Eighth Respondents on 10 February 2023


25.   Without prejudice to the Fourth Respondents’ right to challenge the jurisdiction of the
      English Court, this Order and the Claim Form shall be deemed to have been served on
      the Fourth Respondent on 23 February 2023.


26.   The number of days that each of those Respondents who are being served out of the
      jurisdiction shall have to file their acknowledgment of service (from the date of service
      of the Claim Form) shall be as follows


      26.1. 22 days for each of the First, Second, Fourth and Eighth Respondents


      26.2. 24 days for each of the Third and Sixth Respondents


      26.3. 31 days for the Seventh Respondent.


Use of Respondents’ asset disclosure


27.   The Applicants shall have permission to use the asset disclosure provided by any
      Respondent for the purpose of proceedings in the Cayman Islands (under Cause Number
      FSD 31 of 2023) and/or Malaysia (under case number WA-22NCC-47-02/2023) and/or
      Singapore (under case number HC/OC 91/2023) in which that Respondent has also been
      ordered to give asset disclosure.


Communications with the Court


28.   All communications to the Court about this Order should be sent to the Admiralty and
      Commercial Court Listing Office, 7 Rolls Building, Fetter Lane, London EC4A 1NL



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quoting the case number. The telephone number is 020 7947 6826. The offices are open
between 10 a.m. and 4:30 p.m. Monday to Friday.




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